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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF DELAWARE


 LEONARD W. NASH, an individual,

                     Plaintiff,

               vs.                           Case No.

 QUALTRICS INTERNATIONAL INC.,
 a Delaware corporation formerly known
 as CLARABRIDGE, INC., BAS                   COMPLAINT
 BRUKX, an individual, KARL KNOLL,
                                             DEMAND FOR JURY TRIAL
 an individual, and MARK BISHOF, an
 individual,
                     Defendants.


 COMPLAINT FOR DAMAGES AND OTHER RELIEF BECAUSE OF
     DEFENDANTS’ SECURITIES AND EXCHANGE ACT
                   VIOLATIONS

        Plaintiff Leonard W. Nash (“Plaintiff” or “Nash”), by and through his

 undersigned attorneys, as and for his Complaint against defendants Qualtrics

 International Inc. (“Qualtrics” or the “Corporation”) formerly known as

 Clarabridge, Inc. (“Clarabridge”), Bas Brukx (“Brukx”), Karl Knoll (“Knoll”)

 and Mark Bishof (“Bishof” and together with Qualtrics, Brukx, and Knoll the

 “Defendants”), alleges on personal knowledge, except where indicated that

 such allegations are on information and belief, as follows:




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                     I.     NATURE OF THE ACTION

       1.     This is an action for securities fraud. Plaintiff is a former senior

 executive of Clarabridge, a private company, and was a “key holder” of its

 preferred stock since 2014. As a “key holder,” Plaintiff had certain rights and

 a relationship of trust with the individual defendants. In November and

 December 2020, Plaintiff asked Brukx and Knoll whether Clarabridge was

 involved in a “sales process” with a potential acquirer. Both Brukx and Knoll

 affirmatively stated that there “was no active sales process” and “no bankers”

 had been retained. Clarabridge then offered to purchase all of Plaintiff’s

 preferred stock at a reduced price of $6.30 per share.

       2.     Based on the representation by Brukx and Knoll that there was

 no “sales process,” Plaintiff accepted the offer by Clarabridge to purchase his

 shares. Just before the closing of the transaction, Knoll confirmed to

 Plaintiff’s counsel that there was no active sales process.

       3.     The statements made by Brukx and Knoll were false and

 misleading because at the time they were made, Clarabridge was actively

 involved in a process to sell the entire Corporation to Qualtrics at a price of

 over $22 per share. Bishof later disclosed that Defendants had been in active

 discussions with Qualtrics for the time period from about July 2020 through

 July 2021. Defendants were motivated to conceal the truth because purchasing


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 and canceling Nash’s shares would proportionally increase the amounts

 received by the individual Defendants in the sale to Qualtrics.

         4.   Plaintiff justifiably relied on the statements made by Brukx and

 Knoll when he agreed to sell his stock at a reduced price. As a former

 executive and “key holder” of Clarabridge preferred stock, Plaintiff had a

 long-standing relationship of trust with Brukx, Knoll, and other executives of

 Clarabridge, who regularly provided confidential information to Nash.

 Defendants were the only source of relevant information available to Nash at

 the time. Defendants convinced Plaintiff that the price offered by Clarabridge

 accurately reflected the value of the Plaintiff’s shares when that was not the

 case.

         5.   Defendants’ misstatements and omissions caused Plaintiff

 damages. Believing that there was no active sales process, and his shares were

 totally illiquid, Nash sold his shares to Clarabridge at a reduced price of $6.30

 per share. A little more than six months later, Defendants announced the sale

 to Qualtrics at $22.00 per share. Had Plaintiff known that Clarabridge was

 involved in an active sales process expected to close in 2021, Plaintiff would

 have held onto his shares until the sale to Qualtrics and would have obtained

 a much higher price per share.




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                               II.    PARTIES

       6.     Nash is a United States citizen, who currently resides in United

 Kingdom.

       7.     Upon information and belief, Qualtrics is a Delaware corporation

 with its principal place of business in Provo, Utah.

       8.     Qualtrics is successor-in-interest to Clarabridge pursuant to a

 merger and acquisition that closed in October 2021 by which Qualtrics

 acquired 100% of the stock of Clarabridge.

       9.     Upon information and belief, Brukx is an individual residing in

 Fairfax County, Virginia. Brukx was the Chief Financial Officer (“CFO”) of

 Clarabridge during the relevant time. Brukx was closely involved in the

 acquisition of Clarabridge by Qualtrics.

       10.    Upon information and belief, Bishof is an individual residing in

 Great Falls, Virginia. Bishof was the CEO of Clarabridge during the relevant

 time. Bishof was closely involved in the acquisition of Clarabridge by

 Qualtrics. He now serves as a Strategic Advisor at Qualtrics.

       11.    Upon information and belief, Knoll is an individual residing in

 Salt Lake City, Utah. Knoll was the General Counsel of Clarabridge during

 the relevant time. Knoll was closely involved in the acquisition of Clarabridge

 by Qualtrics. He is now a legal consultant at Qualtrics.


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       12.    Upon information and belief, non-party Sanju Bansal (“Bansal”)

 was a long-serving member of the Board of Directors of Clarabridge. Bansal

 was closely involved in the acquisition of Clarabridge by Qualtrics.

                    III.   JURISDICTION AND VENUE

       13.    Qualtrics is a corporation organized under the laws of the State

 of Delaware.

       14.    This Court has jurisdiction over this action pursuant to 28 U.S.C.

 § 1331 because this action arises under the Constitution, laws, or treaties of

 the United States. This Court has supplemental jurisdiction pursuant to 28

 U.S.C. § 1367(a) over the common law claims asserted in this action.

       15.    Venue is proper in this district in accordance with 28 U.S.C.§

 1391(b)(2) because the Corporation, including its predecessor, is incorporated

 in this district and a substantial part of the events or omissions by the

 individual defendants that gave rise to the claims occurred while those

 individuals were acting as agents of the Corporation or its predecessor.

                  IV.      SUBSTANTIVE ALLEGATIONS

       16.    During the relevant time and just prior to the transaction at issue,

 Nash owned 357,392 shares of Series A-1 Preferred Stock (the “Preferred

 Stock”) of Clarabridge which he had been holding since 2014.




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       17.    Because he owned Preferred Stock, Nash was deemed a “key

 holder” of Clarabridge stock entitled to certain benefits and subject to certain

 obligations under relevant corporate documents.

       18.    Among other things, “key holders” like Nash are obligated to

 give and receive prior notice of, and entitled to certain rights to participate in,

 potential sales of stock of Clarabridge by other “key holders.”

       19.    In his capacity as a “key holder” of Clarabridge stock, Nash also

 has regularly received from management periodic confidential reports

 regarding the state of its business, financial performance, and prospects going

 forward.

       20.    In early November 2020, Nash conducted an analysis of his

 personal securities portfolio in connection with retirement planning.

       21.    In evaluating his holdings of Clarabridge, Nash reviewed the

 confidential financial reports and management reports that Clarabridge

 management had provided earlier in 2020. He also took steps to obtain

 updated financial information from the company.

       22.    On November 10, 2020, Nash wrote to Brukx to request a

 telephone call to discuss the current financial performance of Clarabridge and

 its upcoming prospects.




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       23.    Brukx agreed to speak with Nash on November 13, 2020 because

 of his status as a “key holder” of Clarabridge stock.

       24.    During the call, Brukx discussed the confidential management

 and financial reports previously provided to Nash a few months earlier. Brukx

 also expressed his understanding of Clarabridge’s current circumstances and

 near-term prospects, and Brukx’s view that the value of Clarabridge was in

 the range of $300 million to $350 million. Brukx failed to disclose that

 Clarabridge had commenced active sales discussions with Qualtrics.

       25.    Based on the information provided by Brukx, Nash concluded

 that his holdings might be valued higher if there was active interest in

 Clarabridge stock and asked Brukx if there was a pending “sales process” with

 any potential acquirers or if Clarabridge had retained bankers to sell the

 company.

       26.    Brukx stated that there was no pending “sales process” and “no

 bankers.”

       27.    Nash then asked if Brukx knew of anyone who might be

 interested in acquiring his Preferred Stock.

       28.    On information and belief, Brukx communicated separately to

 Bishof regarding Nash’s inquiry and was directed to refer Nash to Bansal.




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       29.    A few days after the November 13, 2020 call, Brukx referred

 Nash to Bansal, a long-time member of the Board of Directors.

       30.    Nash then had several conversations with Bansal regarding the

 state of the Corporation and its likely prospects.

       31.    During these conversations, Bansal expressed his views

 concerning the current “risks” faced by the Corporation but did not disclose

 that Clarabridge was actively involved in a sales process.

       32.    On November 16, 2020, Nash offered to sell his Preferred Stock

 to Bansal for approximately $7.50 per share (implying a corporate valuation

 of $390 million).

       33.    Nash arrived at this valuation based on the guidance by Brukx

 that there was no active sales process for Clarabridge’s shares.

       34.    On November 19, 2020, Bansal countered with a proposal to

 purchase Nash’s shares at $6.30 per share (implying a corporate value of

 $327.6 million). Bansal did not disclose that there was an active process to

 sell Clarabridge.

       35.    Based on the statement made by Brukx, that there was no active

 sales process for Clarabridge, Nash considered Bansal’s proposed reduced

 purchase price of $6.30 to reflect a reasonable discount for the illiquidity of

 Clarabridge stock.


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       A.     Defendants Made False and Misleading Statements and
              Omissions.

       36.    The statements by Brukx during the November 13, 2020 call, that

 there was no active sales process, was false and misleading because

 Clarabridge was actively involved in a sales process with Qualtrics.

       37.    Brukx misled Nash by stating that there was not an active sale

 process and omitted to disclose the discussions with Qualtrics.

       38.    Without knowledge of the discussions between Clarabridge and

 Qualtrics, and without access to information regarding those discussions

 independent of the Defendants, Nash gave notice to all other “key holders” of

 Clarabridge stock regarding his contemplated sale of the Preferred Stock to

 Bansal at a reduced price of $6.30 per share on or about December 15, 2020.

 This notice was required pursuant to the Fifth Amended and Restated Right

 of First Refusal and Co-sale Agreement (the “ROFR Agreement”).

       39.    On December 17, 2020, Knoll called Nash’s attorney, Michael

 Schwamm (“Schwamm”). Knoll stated that he was giving “unofficial” notice

 that Clarabridge was going to exercise its right of first refusal (the “ROFR”)

 to purchase Nash’s Preferred Stock on the same terms as offered by Bansal.

       40.    During the December 17, 2020 call, Schwamm asked if

 Clarabridge was engaged in sale discussions in the last six months. Knoll

 confirmed that Clarabridge was not actively involved in discussions to sell the

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  company. After the call, Schwamm accurately relayed Knoll’s statements to

  Nash.

          41.   On or about December 24, 2020, Brukx sent Nash a formal notice

  of Clarabridge’s intent to exercise its ROFR to purchase the Preferred Stock

  on the same terms as offered by Bansal.

          42.   On the same day, Nash’s attorney, Schwamm, had a call with

  Knoll and Brukx regarding the ROFR.

          43.   During the call, Schwamm (in his role as Nash’s counsel) again

  asked Knoll if Clarabridge was “running a sale process” or “holding an LOA”

  (referring to a letter or memorandum agreement of agreement between

  Clarabridge and a potential acquiror regarding a potential sale of the business).

          44.   During the call, Knoll stated that that Clarabridge was “not in an

  active process, nor are we holding an LOA.” After the call, Schwamm

  accurately relayed Knoll’s statements to Nash.

          45.   After his call with Schwamm, Knoll sent a draft Stock

  Repurchase Agreement. The draft stock purchase agreement contained a “big

  boy” provision, which provided, in part, that “The Holder hereby

  acknowledges that Holder has not relied on any representation or statement of

  the Company in making Holder’s investment decision to sell the Shares and

  acknowledges that the Company has no duty or obligation to provide such


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  Holder any such information” and “the Holder waives and releases any claims

  that it might have against the Company whether under applicable securities

  laws or otherwise, with respect to the nondisclosure of the Non-Public

  Information in connection with the sale of the Shares and the transactions

  contemplated by this Agreement. . . .”

        46.    On December 28, 2020, Schwamm sent back a version of the

  Stock Repurchase Agreement with a revision providing for a representation

  by Clarabridge that “The Company is not actively engaged in negotiations

  with respect to the sale of all or a significant amount of the securities or assets

  of the Company (a “Sale of the Company”) nor has it received within the prior

  six months or reasonably expects to receive within the next six months an

  indication of interest, letter of intent, or similar document with respect to a

  Sale of the Company.”

        47.    In his December 28, 2020 email to Knoll, Schwamm stated

  “Karl: Thank you for the draft. Attached is a revised version reflecting our

  changes – which are mostly to conform the company and seller

  representations, where appropriate. I have also added a company rep that there

  are no active discussions ongoing with respect to a sale (as we had

  discussed)” (emphasis added).




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        48.      Later that day, Knoll wrote by email to Schwamm: “Michael,

  thanks, but to be clear, I told you that I could tell you that, but that we

  wouldn’t provide a company rep to that effect in the document. We wouldn’t

  include something that undermines in any way the big boy reps that our board

  is requiring” (emphasis added).

        49.      Having received oral confirmation from Brux (on November 13,

  2020) and Knoll (on December 17 and December 24, 2020) that there was no

  active sales process for the company and relying on that confirmation, Nash

  agreed to sell his Preferred Stock back to Clarabridge at a reduced price of

  $6.30 per share (implying a corporate value of approximately $327.6 million).

        50.      Bishof, who was also a “key holder” of Clarabridge stock, and

  who had received Nash’s December 15, 2020 notice, omitted to disclose

  during this period that they were involved in a sales process to sell

  Clarabridge.

        51.      On January 4, 2021, the sale of Nash’s Preferred Stock to

  Clarabridge closed at a price of $6.30 per share.

        52.      About six months later, on or about July 29, 2021, Qualtrics

  announced that it had entered into a definitive agreement to purchase

  Clarabridge for $1.125 billion (implying a price of $22 per share).




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        53.    About two weeks after the deal was announced, during the

  second week of August 2021, Bishof held an all-hands Zoom meeting for

  stakeholders of Clarabridge.

        54.    During the meeting, Bishof stated that he, Sid Banerjee (a

  member of Clarabridge’s Board of Directors), and others “had been talking

  probably for over a year now in earnest” regarding the sale to Qualtrics.

  (emphasis added).

        55.    Bishof’s statement at the August 2021 all-hands meeting is an

  admission that Clarabridge was actively involved in a sales process with

  Qualtrics beginning no later than July 2020.

        56.    Both Brukx’s statement to Nash on November 13, 2020 and

  Knoll’s statements to Schwamm, Plaintiff’s attorney, on December 17 and

  December 24, 2020, each confirming that there was no sales process, were

  false and misleading. Plaintiff justifiably relied on these false and misleading

  statements to his detriment.

        B.     Defendants’ Misstatements and Omissions Were Material.

        57.    The statements by Brukx and Knoll, that there was no active sales

  process, was material because the existence of active interest in Clarabridge’s

  shares would have increased the value of Nash’s Preferred Stock during the

  relevant period.


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         58.    The statements by Brukx and Knoll were also material because

  these statements induced Nash to agree to accept the company’s ROFR at the

  reduced price of $6.30 per share, a price which reflected the false perception

  of illiquidity for the stock.

         59.    Brukx’s and Knoll’s omissions of the fact that Clarabridge had

  been involved in a sales process in 2020 were material because active interest

  in the company’s shares would have positively affected the price of Nash’s

  Preferred Stock and negatively influenced Nash’s decision to sell his

  Preferred Stock back to the Corporation at a reduced price of $6.30 per share

  in January 2021.

         60.    Upon information and belief, the misstatements were also

  material because Brukx and Knoll had access to valuations that likely pegged

  the price of Clarabridge’s stock at a value higher than $6.30 per share. The

  basis of this belief is that the stock was sold to Qualtrics at the price of $22

  per share not long after the purchase of Nash’s stock.

         C.     Defendants Acted With Scienter.

         61.    Brukx had actual knowledge of the falsity of his statement and

  omission of material facts during the November 13, 2020 call because in his

  capacity as CFO, Brukx was actively involved in the sales process with




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  Qualtrics, including the provision of sensitive financial information and

  reports to Qualtrics and its M&A advisors.

        62.   Knoll had knowledge of the falsity of his statements and

  omissions during the December 24, 2020 call because in his capacity as

  general counsel, Knoll was actively involved in the sales process with

  Qualtrics, including the provision of sensitive legal information to Qualtrics

  and its M&A advisors.

        63.    On information and belief, Bishof knew or should have known

  of the falsity of the statements made by Brukx and Knoll. Brukx and Knoll

  were direct reports to Bishof. Brukx and Knoll reported Nash’s inquiries to

  Bishof. Bishof instructed Brukx to refer Nash to Bansal and discussed with

  Brukx and Knoll the decision to exercise Clarabridge’s ROFR. Bishof was

  also a “key holder” of Clarabridge stock and received a copy of Nash’s notice

  in connection with the ROFR.

        64.   The corporate defendant had actual knowledge of the falsity of

  both Brukx’s and Knoll’s false statements because the knowledge of Brukx,

  Knoll, Bishof, and the board of directors is imputed to the corporation. As

  Bishof acknowledged during the August 2021 Zoom call, he and members of

  the board of directors were “earnest[ly]” involved in a sales process with

  Qualtrics for over a year before the deal was announced on July 29, 2021.


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        65.    When Brukx made the false statement during the November 13,

  2020 call, he was acting within the scope of his authority as the CFO of

  Clarabridge. On information and belief, Brukx was authorized by Bishof

  and/or other members of the board of directors to make the statement. The

  basis of this belief is the fact that Brukx referred Nash to Bansal after the

  November 13, 2020 call, suggesting that he discussed Nash’s inquiry with

  Bishof and/or other board members before making the referral but Brukx

  never corrected his prior misstatement and omission.

        66.    When Knoll made the false statement during the December 24,

  2020 call, he was acting within the scope of his authority as the general

  counsel of Clarabridge. On information and belief, Knoll was authorized by

  Bishof and/or Brukx to make the false and misleading statements, during the

  December 17, 2020 call, that Clarabridge was “not actively engaged in sale

  discussions” and, during the December 24, 2020 call, that Clarabridge was

  “not in an active process, nor are we holding an LOA.” The basis of this belief

  is that, as general counsel, Knoll would not have spoken with Nash’s counsel

  on December 17 and December 24, 2020 without the knowledge and consent

  of Bishof, and Bishof knew that Nash had asked whether Clarabridge was

  involved in an active sales process and was involved in the decision to

  exercise the ROFR at $6.30 per share.


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        67.    Defendants were motivated to deceive and falsely induce Nash

  to sell his Preferred Stock to the Company at an artificially reduced price

  because doing so would result in the cancellation of Nash’s shares and would

  proportionally increase the amounts that Bishof, Knoll, and Brukx would

  receive for their shares and options at the closing of the transaction with

  Qualtrics.

        68.    Defendants’ misstatements and omissions were made knowingly

  or recklessly and for the purpose and effect of concealing the truth about the

  sales process with Qualtrics and to effectuate the purchase and cancellation of

  Nash’s shares at an artificially reduced price. Even if Defendants did not have

  actual knowledge of the misstatements or omissions alleged, Defendants were

  reckless in failing to obtain such knowledge by deliberately refraining from

  taking steps reasonably necessary to discover whether those statements were

  false or misleading.

        D.     Justifiable Reliance.

        69.    Plaintiff justifiably relied on the statements made by Defendants

  because Plaintiff had a long-standing business relationship and relationship of

  trust with Brukx and Knoll.

        70.    Plaintiff’s relationship with the Defendants, including Knoll,

  began in 2014, when Clarabridge acquired Market Metrix, a customer


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  experience business co-founded by Plaintiff and at which he served as CEO.

  As part of that transaction, Nash received the Preferred Stock of Clarabridge

  that is the subject of this action. Brukx and Knoll were involved in the 2014

  negotiations with Nash concerning the acquisition of Market Metrix by

  Clarabridge.

        71.      Following the 2014 acquisition, Nash became an executive of

  Clarabridge and worked closely with Knoll, Brukx, and other members of the

  senior management team at Clarabridge.

        72.      As holder of the Preferred Shares, Nash was designated a “key

  holder” of Clarabridge stock entitled to certain benefits and subject to certain

  obligations, including the obligation to give and right to receive advance

  notice of potential sales of Clarabridge stock.

        73.      As a “key holder,” Nash was also entitled to and did receive

  periodic confidential financial and management reports concerning the

  operations and results of Clarabridge.

        74.      The disclosure of confidential information to Nash and other

  “key holders” fostered a relationship of trust in the Defendants.

        75.      As a result of the foregoing, Plaintiff developed close working

  relationships and relationships of trust with members of the Clarabridge

  management, including Brukx and Knoll.


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        76.    In deciding to proceed with the sale, Plaintiff relied, in particular,

  on the honesty and integrity of Brukx and Knoll, with whom he had worked

  in the past and considered to be friends.

        77.    Based on the language of Knoll’s December 28, 2022 email,

  Plaintiff reasonably believed that Knoll was telling the truth during the phone

  call with Schwamm, i.e., that there were no sales discussions, and that Knoll

  had been authorized to convey that information.

        78.    The “big boy” provision did not relieve Knoll and Brukx from

  their duty under the federal securities laws not to make material misstatements

  or omissions in connection with the purchase of Plaintiff’s securities.

        79.    Knowledge of the active sales process between Clarabridge and

  Qualtrics was unique to Qualtrics, Clarabridge, their respective management

  teams (including Brukx, Knoll, and Bishof), and their respective advisors.

        80.    At the time Nash inquired about a sales process and discussed

  the ROFR, Defendants were the only source of relevant information available

  to him. The discussions between Clarabridge and Qualtrics were not public

  knowledge at that time.

        81.    At the time of the misstatements, Clarabridge, a private

  company, had not publicly disclosed that it was involved in a sales process.




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        82.      At the time of the misstatements, Qualtrics, a public company,

  had disclosed that it intended to use a portion of proceeds from a public

  offering for an acquisition, but had not disclosed the identity of any

  acquisition target.

        83.      Accordingly, Brukx, Knoll, Bishof, Bansal, and the board of

  directors of Clarabridge, were the only sources of information available to

  Nash regarding whether the corporation was involved in a sales process or if

  any other person had expressed an interest in purchasing Clarabridge stock.

        84.      Defendants knew that Nash was relying on the information

  provided by Defendants in deciding whether to sell his Preferred Stock at a

  reduced price of $6.30 per share. Defendants also knew or should have known

  that they were the only sources accessible to Nash with the relevant

  information.

        85.      Defendants could have permissibly disclosed to Nash the

  existence of a sales process because of Nash’s status as a “key holder” of

  Clarabridge stock.

        86.      Accordingly, Plaintiff was justified in relying on the affirmative

  statements by Brukx and Knoll that there was no “sales process,” “no

  bankers,” and no “LOA.”




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        E.     Loss Causation.

        87.    Defendants’ misstatements and omissions proximately caused

  Nash to suffer a loss.

        88.    Defendants’ statement that there was no active sales process

  ongoing in November and December 2020 was a substantial factor in Nash’s

  decision to sell his Preferred Stock to Clarabridge for a reduced price of $6.30

  per share.

        89.    Had Nash known that Clarabridge was actively involved in a

  sales process with Qualtrics, Nash would not have sold his shares of Preferred

  Stock to Clarabridge at the price of $6.30 per share. Instead, Nash would have

  held his Preferred Stock for sale to Qualtrics.

        90.    In its Form 10-Q for the period ending September 30, 2021 (“Q3

  2021”),1 Qualtrics disclosed that it completed the acquisition of Clarabridge

  on October 1, 2023 for aggregate consideration of $1.125 billion in exchange

  for all outstanding shares of Clarabridge Stock.

        91.     The consideration paid for Clarabridge implies a purchase price

  of $22 per share.




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        1

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        92.    Relevant corporate documents entitled Nash to participate in any

  sale of Clarabridge on the same terms as other “key holders.”

        93.    Accordingly, had Nash sold his shares to Qualtrics as part of the

  sale of Clarabridge, he would have received consideration greater than $6.30

  per share.

                      V.     FIRST CAUSE OF ACTION

                      Violation of the Securities and
                Exchange Act of 1934 § 10(b) and Rule 10b-5
                        Promulgated Thereunder
                    (Against Qualtrics, Brukx, and Knoll)

        94.    Plaintiff re-alleges each of the foregoing paragraphs, as if fully

  set forth herein.

        95.    As specifically detailed herein, Qualtrics, Brukx, and Knoll: (i)

  employed devices, schemes, and artifices to defraud; (ii) made untrue

  statements of material fact and/or omitted to state material facts necessary to

  make the statements not misleading; and (iii) engaged in acts, practices, and a

  course of business which operated as a fraud and deceit upon the Plaintiff in

  connection with the sale of his Series A-1 Preferred Stock in an effort to

  benefit Defendants, individually or collectively, at the expense of Plaintiff, in

  violation of §10(b) of the Exchange Act and Rule 10b-5.

        96.    Defendants, individually and in concert, directly and indirectly,

  by the use, means, or instrumentalities of interstate commerce and/or of the

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  mails, engaged and participated in a continuous course of conduct to conceal

  adverse material information about the active sales process between

  Clarabridge and Qualtrics.

        97.    As set forth more particularly herein, Defendants had actual

  knowledge of the misstatement and omission of material facts set forth herein.

  Defendants’ material misstatement and omission was done knowingly or

  recklessly and for the purpose and effect of concealing the truth about the

  foregoing from Plaintiff. Defendants, if they did not have actual knowledge

  of the misrepresentations and/or omissions alleged, were reckless in failing to

  obtain such knowledge by deliberately refraining from taking those steps

  necessary to discover whether those statements were false or misleading.

        98.    As a result of the dissemination of the materially false and/or

  misleading statement and/or failure to disclose material facts, as set forth

  above, Defendants induced Plaintiff to enter into the Stock Repurchase

  Agreement and to sell his Preferred Stock at a price substantially lower than

  the price Plaintiff would have received if he had held his Preferred Stock until

  the closing of the merger and acquisition between Clarabridge and Qualtrics.

        99.    At the time of Defendants’ misstatements and omissions,

  Plaintiff was ignorant of the falsity of the misstatement and reasonably

  believed it to be true.


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          100. Plaintiff relied on Defendants to disclose all material facts

  truthfully.

          101. Had Plaintiff known the truth regarding the foregoing, which was

  not disclosed by Defendants, Plaintiff would not have sold his shares of

  Preferred Stock to Clearbridge or, if he had sold his stock, he would not have

  done so at the artificially deflated price of $6.30 per share.

          102. By virtue of the foregoing, Plaintiff has suffered a calculable

  loss.

          103. As a direct and proximate result of Defendants’ wrongful

  conduct, Defendants violated § 10(b) of the Exchange Act and Rule 10b-5

  promulgated thereunder in connection with the purchase and sale of Plaintiff’s

  Series A-1 Preferred Stock.

                      VI.   SECOND CAUSE OF ACTION

                       Violation of the Exchange Act § 20
                       (Against Brukx, Knoll, and Bishof)

          104. Plaintiff re-alleges each of the foregoing paragraphs, as if fully

  set forth herein.

          105. By virtue of their high level positions, participation in and/or

  awareness of the Company’s operations, and/or intimate knowledge of the

  false statements disseminated to Plaintiff, defendants Brukx, Knoll, and

  Bishof (together, the “Control Group”) had the power to influence and control,

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  and did influence and control, directly or indirectly, the decision making of

  the Company, including the dissemination to Plaintiff of various statements

  which Plaintiff contends were false and misleading, the exercise of

  Clarabridge’s ROFR concerning the purchase and sale of Plaintiff’s shares at

  a price of $6.30 per share, and the concealment from Plaintiff of the active

  sales process between Clarabridge and Qualtrics. The Control Group was

  provided with or had unlimited access to information concerning the active

  sale process between Clarabridge and Qualtrics before Plaintiff, including the

  contemplated acquisition price and other information, and had the ability to

  prevent the issuance of the false and misleading statements or cause the

  statements to be corrected.

        106. In particular, each member of the Control Group had direct and

  supervisory involvement in the efforts of the Company to sell Clarabridge to

  Qualtrics and the power to control or influence the exercise of ROFR with

  respect to Plaintiff’s Preferred Stock.

        107. As set forth above, each member of the Control Group violated

  §10(b) and Rule 10b-5 by their acts and/or omissions as alleged in this

  Complaint. By virtue of their positions as controlling persons, the members

  of the Control Group are liable pursuant to §20(a) of the Exchange Act.




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        108. As a direct and proximate result of the individual Defendants’

  wrongful conduct, Plaintiff suffered damages in connection with the purchase

  and sale of his Series A-1 Preferred Stock.

                        VII. RELIEF REQUESTED

        WHEREFORE, Plaintiff respectfully requests judgment against

  Defendants and for such other relief as follows:

           a. On the First Cause of action, awarding Plaintiff damages in an
              amount to be determined at trial; and

           b. On the Second Cause of Action, awarding Plaintiff damages in
              an amount to be determined at trial; and

           c. For an accounting of all monies, property, and all other benefits
              obtained by Defendants resulting from the conduct alleged
              herein; and
           d. Disgorgement of Defendants’ ill-gotten gains resulting from the
              conduct alleged herein; and
           e. Imposition of a constructive trust over Defendants’ ill-gotten
              gains derived from the conduct alleged herein; and
           f. Awarding Plaintiff prejudgment interest at the maximum rate
              permissible under law; and

           g. Awarding Plaintiff his attorneys' fees (pursuant to § 6.9 of the
              ROFR); and

           h. Awarding Plaintiff costs, disbursements, and expenses in an
              amount to be determined at trial, plus interest; and

           i. Such other and further relief as this Court deems just and
              proper.




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                            VIII. JURY DEMAND

        Plaintiff hereby demands a jury trial on all issues so triable.

  Dated: May 31, 2023

              Respectfully submitted,

                                        /s/ Thomas A. Uebler
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